         Case 2:22-cv-00173-NAD Document 6 Filed 04/15/22 Page 1 of 2                       FILED
                                                                                   2022 Apr-15 AM 10:17
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                              CASE NO: 2:22-cv-00173-NAD
vs.

DALESSANDRO ENTERPRISES, LLC,

      Defendant.
                                              /

                   NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff, by and through undersigned counsel, pursuant to Rule 41(a) of the

Federal Rules of Civil Procedure, requests this Court to dismiss the above-styled

case with prejudice, per the settlement agreement entered into between the parties.

Except as contained in the settlement agreement of the parties, each party shall

bear its own attorneys’ fees, costs, and expenses.


      Dated this 15th day of April, 2022.

                                                     Respectfully submitted,

                                                      s/ Edward I. Zwilling
                                                     Edward I. Zwilling
                                                     Al Bar No. ASB-1565-L54E
OF COUNSEL:
Law Office of Edward I. Zwilling, LLC
4000 Eagle Point Corporate Dr.
Birmingham, Alabama 35242
         Case 2:22-cv-00173-NAD Document 6 Filed 04/15/22 Page 2 of 2




Telephone: (205) 822-2701
Email: edwardzwilling@zwillinglaw.com



                          CERTIFICATE OF SERVICE

       I hereby certify that on this, the 15th day of April, 2022, I have electronically
filed the foregoing with the Clerk of the Court using the CM-ECF system which
will send notification of such filing to the following counsel of record at the email
address registered with CM-ECF. A copy has also this date been emailed to Gerry
D’Alessandro at gad4747@gmail.com.


                                               s/ Edward I. Zwilling
                                               Edward I. Zwilling
